Case 9:18-cv-80176-BB Document 794-2 Entered on FLSD Docket 11/20/2021 Page 1 of 3




                    EXHIBIT B
Case 9:18-cv-80176-BB Document 794-2 Entered on FLSD Docket 11/20/2021 Page 2 of 3




                                                      Spoliation1

           The plaintiffs allege that the defendant is responsible for the spoliation and fabrication of
  evidence. The term “spoliation” refers to the intentional destruction, alteration, fabrication, or
  concealment of evidence. You may consider whether the defendant intentionally concealed,
  altered, fabricated, or destroyed evidence. If you decide that he did so, you may decide that the
  evidence would have been unfavorable to him.


  ________________________
  Authorities:

  Judicial Council of California Civil Jury Instructions, Instruction 204 (2017 ed.); Order, ECF [No.
  595], at 37 (concluding that the issues raised in Plaintiffs’ Sanctions Motion should be for the jury
  to decide); see Flury v. Daimler Chrysler Corp., 427 F.3d 939, 943 n.9 (11th Cir. 2005) (court
  concluded spoliation instruction was too weak and entered default for destruction of evidence as a
  matter of law); Cox v. Target Corp., 351 F. App’x 381, 383 (11th Cir. 2009) (“A jury instruction
  on spoliation of evidence is required ‘only when the absence of that evidence is predicated on bad
  faith.’” (quoting Bashir v. Amtrak, 119 F.3d 929, 931 (11th Cir. 1997))); Mann v. Taser Int’l, Inc.,
  588 F.3d 1291, 1310 (11th Cir. 2009); Trial Tr. (Dr. Edman) Day 9 PM (Rough) at 43:15–25,
  45:25–46:6, 47:4-7 (P823 is a forgery), 56:13–18 (no evidence anyone other than Defendant forged
  P823), 56:20–25 (no evidence any of forgeries created by anyone but Defendant); Trial Tr. (Dr.
  Edman) Day 10 PM (Rough) at 14:11–13 (P546 is a forgery), 19:3–14 (P135 is a forgery), 22:16–
  18 (P55 is a forgery), 26:25–27:4 (P452 is a forgery), 34:9-16 (P807 is a forgery), 41:25–43:2
  (P808 is a forgery), 51:4–10 and P822 (Defendant swearing to authenticity of documents submitted
  to Court that are forgeries), 51:17–24 (P35 is a forgery), 73:15–17 (P538 is a forgery), 82:14–17
  (P36 is a forgery), 86:16–25 (Dr. Edman identified approximately 25–30 additional forgeries in
  this case); P240 (Letter from Australian counsel terminating representation based on “serious
  questions about the integrity of documents provided by Dr Craig Wright, both to [his] office and
  to the Australian Taxation Office”); P637, ¶¶ 52–53, 101 (Defendant forged contracts with W&K)
  and pp. 118–32 (chart of Defendant’s “discrepancies,” including false statements and
  forged/altered documents at issue in this case); see also id., ¶¶ 12 n.14 (Defendant “admitted to
  backdating several documents” involving Coin-Exch), 111 (finding documents submitted by
  Defendant were a “sham”), 115 (finding Defendant submitted documents as “disguise for either
  difference transactions, or no transactions”); P795, ¶¶ 220–23 (discussing “numerous anomalies
  and inconsistencies” in the evidence presented by Defendant and his agents, concluding contract
  with W&K “amounts to a sham,” and finding that Defendant “fabricated” electronic evidence in
  connection with Dave Kleiman and W&K), 227 (“documentation was created by [Defendant] in
  order to fraudulently decide the ATO and support [his] false and misleading statements”), 228.8
  (forgery of Dave Kleiman’s signature), 228–29 (discussing “inconsistencies and anomalies
  relating to” purported contract with W&K); P30, ¶¶ 267–68 (forgeries of David Kleiman’s

  1
    This proposed instruction has not changed since it was submitted as part of the parties’ joint submission of
  instructions. The Authorities have been supplemented with record evidence at trial.


                                                            1
Case 9:18-cv-80176-BB Document 794-2 Entered on FLSD Docket 11/20/2021 Page 3 of 3




  signature); P565, ¶¶ 21.1, 38.1 (finding Defendant made false or misleading statements involving
  W&K), 38.7 (finding emails produced by Defendant were “false or doctored” and questioning “the
  veracity and genuineness” of other electronic communications, including Bitmessages), 68 and
  74-78 (finding documents and statements by Defendant relating to W&K “false or misleading”);
  P604 & P605, ¶¶ 176–77 (“In the present case there are numerous anomalies and inconsistencies
  in the purported agreement between [Defendant] and W&K that lead us to conclude that no liability
  arose from it.”).




  GIVEN                                       ___________________________
  GIVEN AS MODIFIED                           ___________________________
  WITHDRAWN                                   ___________________________
  GRANTED                                     ___________________________
  DENIED                                      ___________________________




                                                 2
